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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 EDRIN KENNYARDER TEMPLE,

                Plaintiff,                                 CIVIL ACTION NO.: 2:18-cv-91

        v.

 ROBERT COX; JOHN DOES; and DILLION
 HOWARD,

                Defendants.

                                           ORDER

       The Court stayed the parties’ discovery deadlines pending a ruling on the identified

Defendants’ motion to dismiss. Doc. 7. The Court granted these Defendants’ motion to dismiss

on January 22, 2019. Doc. 12. In light of that ruling, only the federal and state law claims

against Defendants Cox and Howard in their individual capacities, as well as certain claims

against unidentified “John Does” remain pending. Id. at 25. Accordingly, the Court LIFTS the

stay imposed in its September 24, 2018 Order. The Court ORDERS the parties to have their

Rule 26(f) conference within 14 days of this Order and submit a Rule 26(f) report within 7 days

of their Rule 26(f) conference. The Court will then enter an appropriate Scheduling Order.

       SO ORDERED, this 27th day of February, 2019.




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                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
